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EXHIBIT J

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IN THE UNITED STATES DlSTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
Al\/IERICAN DIABETES ASSOCIATION, : ClVlL ACTION
Plaintiff,
v. : NO. 2:13-cv-03720-MSG

THE FRISKNEY FAMILY TRUST, LLC,
et al.,

Defendants.
NOTICE OF FILING OF REGISTRAR CERTIFlCATE

Plaintiff American Diabetes Association, by and through its undersigned counsel, hereby
gives notice of the filing of the attached Registrar Certificate through Which GoDaddy.com, LLC
(“GoDaddy”) tenders to the Court control and authority over the registration and use of the
domain names AMERICANDIA,BETES.COl\/l and AMERI.CANDIABETESUPPLIES.COI\/l.

This Civil Action relates to, in part, Defendants’ registration and use of the domain
names AMERICANDIABETES.COM and AMERICANDIABETESUPPLIES.COM and the
infringement of Plaintiff"s mark AMERICAN DIABETES ASSOCIATION caused thereby.
(See generally Pl.’s Compl. [D.l.. l].)

As contemplated by the Anticybersquatting Consumer Protection Act, codified, as
amended, in 15 U.S.C. §§ lll4, lll7 and 1125, and as further provided in GoDaddy’s terms of
service agreement With its registrants and the dispute policies incorporated therein, GoDaddy has
provided the attached Registrar Certificate, Which tenders control and authority over the
registration and use of the domain names Al\/[ERICANDIABETES.CC)M and

AMERICANDIABETESUPPLIES.COM, to the Court.

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GoDaddy, by its Registrar Certiiicate, shall maintain the Status quo ante With respect to

the above-referenced domain names and will not permit any future transfer, suspension, or other

modification of the domain name registrations until further order of this Court.

Respectfully submitted,

CAESAR, RlVlSE, BERNSTElN,
COHEN & POKOTlLOW, LTD.

Dated: July 10, 2013 By

/SGuerriero/

l\/lanny D. Pokotilow (PA ID# l3310)
Email: <mdpokotilow@crbcp.com>

Salvatore Guerriero (PA ID# 83680)
Email: <sal@crbcp.com>

1635 l\/larket Street

12th Floor - Seven Penn Center

Philadelphia, PA l9l03

Tel: (215) 567-2010

Attorneys for Plaintiff
American Diabetes Association

CERTIFICATE OF SERVICE

The undersigned hereby certifies that the Within Notice of Filing of Registrar Certificate
is being electronically filed With the Clerk of Court via the ECF for the U.S. District Couit for
the Eastern District of Pennsylvania on July 10, 2013. The undersigned further certifies that true
copies of the same are being served upon the parties of record, on this same day, by electronic

mail and first class mail, postage prepaid:

Robert L. Friskney

The F~riskney Family Trust, LLC
1605 E Classical Boulevard
Delray Beach, FL 33445
<rfriskney@gmail.com>

Robert L. Friskney
l\/led\/antage Plus, LLC
6560 W. Rogers Circle #l9
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.Robert L. Friskney

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/S Guerriero/
Salvatore Guerriero

t\.)

 

 

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in The Unitcd States [)istrict Court for the fiastern District ()f Pennsylvania

Amcrican Diahctcs /\ssociation

lllziiiitit`f` Registrar`s C`ertilicate

vs.

(`ase No. |3~3720

'l`he l"ris|<ney hamin 'l`rust, LL(`, l\/ledvantage
Plus. l{li(" and Robert L. Friskney,

[)efendants.

 

I, David (`astano, a representative of ("lol)addy.conr l/l,(', registrar of lnternet domain
names under the top level domains .eom, .org. and .net._ among others, hereby declare:

l. l have personal knowledge of the facts stated liereiiu and would testify to such
facts it`so called to testify.

2. (loDaddy.eom, l,li(" is the registrar ofthe domain names at issue in this case,
/\MERlCANl)lABl£'I`ES.(.`()l\/l and AMl",Rl(`ANDl/\BFTIZSUPPlilf'fS.C`O|\/l.

3. ()ti .lune 28"‘. 2()\3, (iol)addy.com, l.l.(` received written notification of a tiled.
stamped copy ofthe C`omplaint in the instant ease.

4. Per the (`omp|aint filed at this C`ourt` Gol)addy.com, [.l.(` placed the f)omain
Names on registrar lock thus preventing the Domain Names from being transferred modified

or otherwise managed or manipulated

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5. l~`urthermore` (lol)addy.com, l,li(" will not modify the status of the l)omain
Names unless and until instructed to do so by Order ofthe court in the instant casc.

(). 'l`hcreforc, the Domain Names should be construed to be under the dominion and
control of the court until such time as (]of)addy.com. LLC receives further instruction with
regard to the Domain Names.

7. 'l`his Registrar`s C`ertiticatc shall expire automatically, and control and authority
regarding the registration ol` the Domain Names shall revert to (iol)addy.com` l.l.(`: (i) 14
calendar days from the date of this Registrar`s (`ertiiicate, unless this Declaration has been
filed with the Coutt during that period and (loDaddy.com, lil.(` has received a tile-stamped
cop_v; or (ii) upon (loDaddy.conL I./li("s receipt of an order ofthe (`ourt dismissing all claims
concerning the registrant`s contractual rights to register or use the subject Domain Names.

X. l declare under penalty of perjury that the foregoing is true and correct

[)ATEI) this .luly 8"‘, 2013
Gol)addy.com. Ll,(.`
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15 pfa/31 LTé'é‘A‘l"'/»"/>/?~"tf’,

 

 

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